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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                  CIVIL ACTION NO.
  IN RE: JOHNSON & JOHNSON TALCUM 3:16-md-2738-FLW-LGHG
  POWDER PRODUCTS MARKETING,
  SALES PRACTICES, AND PRODUCTS   MDL NO. 2738
  LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL
  CASES



      MOTION AND NOTICE OF MOTION FOR ENTRY OF CASE
   MANAGEMENT ORDER 7(A) ESTABLISHING THE TALC (MDL 2738)
       COMMON BENEFIT FEE AND EXPENSE ACCOUNTS TO
    COMPENSATE AND REIMBURSE ATTORNEYS FOR SERVICES
        PERFORMED AND EXPENSES INCURRED FOR CASE
          ADMINISTATION AND THE COMMON BENEFIT


        PLEASE TAKE NOTICE, that the Plaintiffs’ Steering Committee (“PSC”)

  hereby moves for entry of Case Management Order 7(A). For the reasons set forth

  more fully in the Memorandum in Support of the Plaintiffs’ Steering Committee’s

  Motion for Entry of Case Management Order 7(A) Establishing the Talc (MDL No.

  2738) Common Benefit Fee and Expense Accounts to Compensate and Reimburse

  Attorneys for Services Performed and Expenses incurred for Case Administration

  and the Common Benefit, the Court should grant the PSC’s motion.
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        A proposed Case Management Order 7(A) with Exhibit A (Common Benefit

  Participation Agreement) is attached.

  Dated:      May 29, 2020                Respectfully submitted,

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